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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                   Judge Raymond P. Moore

  Civil Action No. 18-cv-00327-RM-STV

  ORSON JUDD,
  individually and on behalf of all others similarly situated,

            Plaintiffs,

  v.

  KEYPOINT GOVERNMENT SOLUTIONS, INC.,
  a Delaware corporation,

        Defendant.
  ______________________________________________________________________________

                                     ORDER
  ______________________________________________________________________________

            This matter is before the Court on the parties’ Renewed Joint Motion for Approval of

  FLSA Collective Action Settlement (the “Renewed Motion”) (ECF No. 227). After considering

  the Renewed Motion, and being otherwise fully advised, and for the reasons stated herein, the

  Renewed Motion is denied without prejudice.

       I.       BACKGROUND.

            The parties are well-versed with the background which precedes this Order, so it will not

  be repeated here. Instead, the Court focuses on the Renewed Motion. This is the parties’ second

  request for Court approval of their proposed settlement of this FSLA action. The Court also

  denied their first motion without prejudice, raising some issues of concern. (ECF No. 226.)

  While the Renewed Motion appropriately addresses those concerns, the parties’ revisions or

  amendments raise other mainly procedural questions. The Court addresses them below.
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      II.      DISCUSSION

            The Release Language – Exhibit A. Exhibit A is the “Release Form” which will appear

  on the back of the settlement payment check. The parties proposed the following to be inserted:

            I previously consented to having my wage claims prosecuted in this litigation and
            I now understand that by signing, dating, and endorsing this check, I am bound by
            bound by the Release contained in Paragraph 70-71 of the Settlement Agreement
            and Release of Claims.

  (ECF No. 227-2, p. 21 (red added).) The highlighted language should be corrected.

            The Revised Notice – Exhibit B. The parties’ revised Notice addresses the concerns the

  Court raised in its earlier order. The Notice advises Plaintiffs of the Court’s preliminary

  approval, their right to object, and of a “fairness” hearing before final approval. However, the

  Court notes two minor issues: (1) the reference to Section IX in Section III – there is no Section

  IX in the Notice – should be to Section VIII; and (2) the reference in Section VIII that the parties

  may examine the record in this case at the Arraj Courthouse. As to the latter, due to the COVID-

  19 pandemic, Plaintiffs (and the public in general) currently may not examine documents at the

  Courthouse. Thus, this should be revised so that Plaintiffs are to contact Plaintiffs’ counsel if

  they want any further information or documentation.

            The Settlement Agreement and Release of Claims.1 The Court understands the proposed

  Agreement to provide the following. Generally, after the Court holds a fairness hearing and

  enters any final approval, and all appeals resolved or appeal rights have expired, the “Final

  Effective Date” 2 is reached. The following then occurs:




  1
    The Court notes that are other minor issues with the Agreement. For example, paragraph 80 refers to paragraph 85
  when it appears it should refer to paragraph 81, and there are no paragraphs numbered 92-97 or 99. Those issues are
  not material obstacles to the preliminary approval of the proposed Agreement.
  2
    As defined in the Agreement.

                                                           2
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  Date                                   Event                                   Source/Reference

  Five calendar days after Final         Defendant will pay $1.5                 Agreement, ¶ 37.
  Effective Date                         Million to the Third-Party
                                         Administrator (“TPA”) for
                                         distribution.

                                         TPA will pay the counsel fees           Agreement, ¶ 56.
                                         and costs which the Court has
                                         approved.

                                         TPA will pay the service                Agreement, ¶ 67.
                                         payments approved by the
                                         Court.

  Ten calendar days after Final          TPA will mail and email the             Agreement, ¶ 42.
  Effective Date                         Notice to Plaintiffs.

  30 days after initial mailing of       TPA to mail settlement                  Agreement, ¶ 50.
  Notice                                 payment (presumably only to
                                         those with proper W-9s).

  180 days after date payments           Deadline for Plaintiffs to              Agreement, ¶ 51.
  mailed are postmarked                  negotiate checks.
                                         Failure to do so results in
                                         unclaimed funds being
                                         distributed cy pres.

  Five calendar days + 12                TPA to maintain sufficient              Agreement, ¶ 47.
  months3                                funds to satisfy all claims.
                                         If any Plaintiff fails to return a
                                         properly executed W-9 within
                                         that time period, he/she will
                                         have no right to payment.


          Thus, under the Agreement, the proposed Notice will be sent after the Final Effective

  Date even though that Notice advises of the preliminary approval and the right to object. It

  appears, however, that the Notice should be sent prior to the hearing and that a separate “notice”

  may be sent after the hearing and any final approval, perhaps with the settlement checks. The


  3
   The Agreement does not specifically provide when the 12 months start to run but it follows it can only begin to run
  after the TPA receives the settlement funds from Defendant.

                                                           3
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  Court leaves these logistical issues for the parties to work out. At bottom, the Notice cannot be

  sent after the Final Effective Date – it must be sent after preliminary approval and before any

  final approval.

     III.      CONCLUSION

            As stated, the parties have addressed the Court’s prior concerns. Further, on an initial

  review of the Renewed Motion, the Court anticipates it may preliminarily approve the parties’

  proposed settlement should a request for approval be renewed. Any renewal, however, should

  address the mainly procedural matters raised above.

            Based on the foregoing, the Court ORDERS as follows:

            (1) That the Renewed Joint Motion for Approval of FLSA Collective Action Settlement

               (ECF No. 227) is DENIED WITHOUT PREJUDICE; and

            (2) That Defendant’s Motion to Compel Arbitration (ECF No. 182) is DENIED

               WITHOUT PREJUDICE with leave to refile should the settlement not be approved.

            DATED this 23rd day of March, 2021.

                                                          BY THE COURT:



                                                          ____________________________________
                                                          RAYMOND P. MOORE
                                                          United States District Judge




                                                     4
